

People v Griffin (2022 NY Slip Op 02652)





People v Griffin


2022 NY Slip Op 02652


Decided on April 22, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 22, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., NEMOYER, CURRAN, AND BANNISTER, JJ.


28 KA 18-00879

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vTODD GRIFFIN, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






ANDREW G. MORABITO, EAST ROCHESTER, FOR DEFENDANT-APPELLANT. 
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (KAYLAN C. PORTER OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Joanne M. Winslow, J.), rendered April 25, 2017. The judgment convicted defendant upon a plea of guilty of arson in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Griffin ([appeal No. 1] — AD3d — [Apr. 22, 2022] [4th Dept 2022]).
Entered: April 22, 2022
Ann Dillon Flynn
Clerk of the Court








